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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MICHAEL A. CRABTREE, as CHIEF                         :
EXECUTIVE OFFICER OF THE CENTRAL                      :
PENSION FUND OF THE INTERNATIONAL                     :
UNION OF OPERATING ENGINEERS AND                      :
PARTICIPATING EMPLOYERS, et al.,                      :
                                                      :
                 Plaintiffs,                          : Case No.: 1:19-cv-01596-TNM
                                                      :
        v.                                            :
                                                      :
MILLER PIPELINE, LLC, d/b/a MILLER                    :
PIPELINE CORPORATION                                  :
                                                      :
                 Defendant.                           :

                                   JOINT STATUS REPORT

        The Parties submit this Joint Status Report per the Court’s Minute Entry of December 6,

2021.

        The Parties finalized and executed a Settlement Agreement and Release in this matter on

January 13, 2022. Under the terms of the Settlement Agreement and Release, the Parties will file

a Stipulation of Dismissal in this matter on or before January 30, 2021.

        In light of the settlement, the Parties respectfully request that the Court vacate the Status

Conference scheduled for January 18, 2022, and permit the Parties to file a Stipulation of Dismissal

on or before January 30, 2022.


Dated: January 13, 2022                       Respectfully submitted,

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